                                                              UNITED STATES BANKRUPTCY COURT
                                                                    FOR THE DISTRICT OF




                           IN RE:            CAH Acquisition Company #5, LLC      }            CASE NUMBER               19‐10359
                                                                                  }
                                                                                  }
                                                                                  }
                           DEBTOR(S).                                             }            CHAPTER 11




                                                           DEBTOR'S STANDARD MONTHLY OPERATING REPORT (BUSINESS)


                                                                                      FOR THE PERIOD

                           FROM                            5/1/2019                    TO              5/31/2019


                 Comes now the above‐named debtor and files its Monthly Operating Reports in accordance with the Guidelines established by the United States Trustee and FRBP 2015


                                                                                                    s/ Patricia E. Hamilton
                                                                                               Attorney for Debtor’s Signature




                           Debtor's Address                                                                              Attorney's Address
                           and Phone Number:                                                                             and Phone Number:
                                                                                                                         Patricia Hamilton
                           101 Industrial Road                                                                           Stevens and Brand, LLP
                           Hillsboro, KS 67063                                                                           917 SW Topeka Blvd
                           620‐947‐3114                                                                                  Topeka, KS 66612
                                                                                                                         785‐408‐8000




Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously provided to the United States Trustee Office.
Monthly Operating Reports must be filed by the 21st day of the following month.

For assistance in preparing the Monthly Operating Report, refer to the following resources on the United States Trustee Program Website, http://www.justice.gov/ust/r20/index.htm.
1) Instructions for Preparations of Debtor’s Chapter 11 Monthly Operating Report
2) Initial Filing Requirements
3) Frequently Asked Questions (FAQs)




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                                                    MONTHLY SCHEDULE OF RECEIPTS AND DISBURSEMENTS (cont’d)

                                                          Detail of Other Receipts and Other Disbursements




OTHER RECEIPTS:
Describe Each Item of Other Receipt and List Amount of Receipt. Write totals on Page MOR‐2, Line 2C.


                                                                                                        Cumulative
Description                                               Current Month                                 Petition to Date

Loan Proceeds ‐ Bank of Hays                               $                         138,500.00                                   531,525.36
Dietary Sales                                                                          1,365.80                                     3,464.63
Interest Income                                                                            7.49                                        22.83
Vendor Refunds                                                                         2,920.74                                     3,602.72
Medicare Interim Payment                                                                    ‐                                     121,000.00




TOTAL OTHER RECEIPTS                                       $                         142,794.03         $                         659,615.54




“Other Receipts” includes Loans from Insiders and other sources (i.e. Officer/Owner, related parties directors, related corporations, etc.). Please describe below:

                                                          Source
 Loan Amount                                              of Funds                                      Purpose                                      Repayment Schedule




OTHER DISBURSEMENTS:

Describe Each Item of Other Disbursement and List Amount of Disbursement. Write totals on Page MOR‐2, Line 5W.

                                                                                                        Cumulative
Description                                               Current Month                                 Petition to Date

Kansas Hospital Association                                $                                ‐           $                              100.00
KUMC                                                                                        ‐                                        1,300.00
Salem Home                                                                                  ‐                                        7,454.30
Kansas Healthcare Engineers                                                                 ‐                                           90.00
Cohesive Healthcare Mgmt & Consulting                                                       ‐                                        3,095.04
Diagnostic Monitor Software                                                                 ‐                                          310.00
Marion County EMS                                                                           ‐                                        1,344.00
Virtru Corporation                                                                          ‐                                        3,119.20
Mid America Wound                                                                           ‐                                          200.00
Foulston Siefkin                                                                            ‐                                          275.00
Eagle Communications                                                                     422.30                                      1,415.41

TOTAL OTHER DISBURSEMENTS                                  $                             422.30         $                          18,702.95




NOTE: Balance Sheet and Income (Profit & Loss) Statement for March 31, 2019 are attached as Exhibit 1 and Exhibit 2.




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                                                                           ATTACHMENT 1

                                                      MONTHLY ACCOUNTS RECEIVABLE RECONCILIATION AND AGING




    Name of Debtor:                CAH Acquisition Company #5, LLC         Case Number:                  19‐10359

    Reporting Period beginning     5/1/2019                                Period ending                 5/31/2019


    ACCOUNTS RECEIVABLE AT PETITION DATE:


                                    ACCOUNTS RECEIVABLE RECONCILIATION
    (Include all accounts receivable, pre‐petition and post‐petition, including charge card sales which have not been received):


                                   Beginning of Month Balance                                        $                960,718.99       (a)
                                     PLUS: Current Month New Billings                                $                893,060.98
                                     MINUS: Collection During the Month                              $               (305,113.82)      (b)
                                     PLUS/MINUS: Adjustments or Write‐offs                           $               (563,794.06)      *
                                   End of Month Balance                                              $                984,872.09       (c)

    *For any adjustments or Write‐offs provide explanation and supporting documentation, if applicable:




                                 POST PETITION ACCOUNTS RECEIVABLE AGING
    (Show the total for each aging category for all accounts receivable)


    0‐30 Days                        31‐60 Days                              61‐90 Days                    Over 90 Days                 Total

$                   266,834.45 $                            290,673.85 $                  255,015.21 $                172,348.58 $                  984,872.09 (c)


    For any receivables in the “Over 90 Days” category, please provide the following:
    The Debtor is currently working through the Accounts Receivable aging.
    The priority is to get current claims out the door and then we will work old accounts while monitoring accounts for timely file.

                                                                           Receivable                    Status (Collection efforts taken, estimate of collectability,
                                       Customer                            Date                          write‐off, disputed account, etc.)




    (a)This number is carried forward from last month’s report. For the first report only, this number will be
       the balance as of the petition date.
    (b)This must equal the number reported in the “Current Month” column of Schedule of Receipts and
        Disbursements (Page MOR‐2, Line 2B).
    (c)These two amounts must equal.




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                                                                                     ATTACHMENT 2

                                                      MONTHLY ACCOUNTS PAYABLE AND SECURED PAYMENTS REPORT


Name of Debtor:                      CAH Acquisition Company #5, LLC                 Case Number:                          19‐10359

Reporting Period beginning           5/1/2019                                        Period ending                         5/31/2019



In the space below list all invoices or bills incurred and not paid since the filing of the petition. Do not include amounts owed prior to filing the petition. In the alternative, a computer
generated list of payables may be attached provided all information requested below is included.

See Exhibit 3 for a complete summary of Post‐Petition Accounts Payable and related payments.

Check here if pre‐petition debts have been paid. Attach an explanation and copies of supporting documentation


                                                        ACCOUNTS PAYABLE RECONCILIATION (Post Petition Unsecured Debt Only)

                                     Opening Balance                                                                  $                        187,917.63 (a)
                                       PLUS: New Indebtedness Incurred This Month                                     $                        445,943.56
                                       MINUS: Amount Paid on Post Petition, Account Payable this Month                $                       (357,354.46)
                                       PLUS/MINUS: Adjustments                                                        $                        (30,029.69) *
                                     Ending Month Balance                                                             $                        246,477.04 (c)


*For any adjustments provide explanation and supporting documentation, if applicable.
Adjustments related to prior period reclassifications and the elimination of certain pre‐petition amounts.




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                                                                        SECURED PAYMENTS REPORT

List the status of Payments to Secured Creditors and Lessors (Post Petition Only). If you have entered into a modification agreement with a secured creditor/lessor, consult
with your attorney and the United States Trustee Program prior to completing this section).




                                                                                                            Number of Post Petition             Total Amount of Post Petition
Secured Creditor/Lessor             Date Payment Due This Month         Amount Paid This Month              Payments Delinquent                 Payments Delinquent

City of Hillsboro Bonds                                  5/1/2019                          11,716.53                                      1                          7,412.50
Beckman Coulter                                          5/8/2019                           2,270.67                                  ‐                                   ‐




TOTAL                                                                                      13,987.20 (d)

(a)This number is carried forward from last month’s report. For the first report only, this number will be zero.
(b, c)The total of line (b) must equal line (c).
(d)This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements (Page MOR‐2, Line 5N).




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                                                                             ATTACHMENT 3

                                                           INVENTORY AND FIXED ASSETS REPORT


Name of Debtor:                      CAH Acquisition Company #5, LLC         Case Number:                         19‐10359

Reporting Period beginning           5/1/2019                                Period ending                        5/31/2019


                                                                        INVENTORY REPORT

                                     INVENTORY BALANCE AT PETITION DATE:                                    $                    85,517.66
                                     INVENTORY RECONCILIATION:
                                        Inventory Balance at Beginning of Month                             $                     60,993.40 (a)
                                          PLUS: Inventory Purchased During Month                            $                      8,181.45
                                          MINUS: Inventory Used or Sold                                     $                    (10,495.26)
                                          PLUS/MINUS: Adjustments or Write‐downs                            $                                *
                                        Inventory on Hand at End of Month                                   $                     58,679.59

METHOD OF COSTING INVENTORY:
*For any adjustments or write‐downs provide explanation and supporting documentation, if applicable.


                                                                        INVENTORY AGING

Less than 6                          6 months to                             Greater than                         Considered
months old                           2 years old                             2 years old                          Obsolete

                               %                                        %                                   %                                %    ꞊ 100%*

Note: The Debtor does not age its inventory.
Check here if inventory contains perishable items.


Description of Obsolete Inventory:

                                                                        FIXED ASSET REPORT

FIXED ASSETS FAIR MARKET VALUE AT PETITION DATE:                                                            (b)
(Includes Property, Plant and Equipment)

Note: The Debtor does no have the ability to estimate the Fair Market Value. Net book value is the only value estimate available to the Debtor.


BRIEF DESCRIPTION (First Report Only):
                                 FIXED ASSETS RECONCILIATION:
                                 Fixed Asset Book Value at Beginning of Month                               $                  9,603,211.72 (a)(b)
                                     MINUS: Depreciation Expense                                            $                    (52,692.44)
                                     PLUS: New Purchases                                                    $                           ‐
                                     PLUS/MINUS: Adjustments or Write‐downs                                 $                           ‐    *
                                 Ending Monthly Balance                                                     $                  9,550,519.28

*For any adjustments or write‐downs, provide explanation and supporting documentation, if applicable.

BRIEF DESCRIPTION OF FIXED ASSETS PURCHASED OR DISPOSED OF DURING THE REPORTING PERIOD:

(a)This number is carried forward from last month’s report. For the first report only, this number will be the
  balance as of the petition date.
(b)Fair Market Value is the amount at which fixed assets could be sold under current economic conditions.
  Book Value is the cost of the fixed assets minus accumulated depreciation and other adjustments.




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                                                                                              Attachment 4A(1)

                                                            MONTHLY SUMMARY OF BANK ACTIVITY ‐ OPERATING ACCOUNT


Name of Debtor:                     CAH Acquisition Company #5, LLC                           Case Number:            19‐10359

Reporting Period beginning          5/1/2019                                                  Period ending           5/31/2019




Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation form can be found
at http://www.justice.gov/ust/r20/index.htm. If bank accounts other than the three required by the United States Trustee Program are necessary,
permission must be obtained from the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank accounts
must be approved by the United States Trustee.


NAME OF BANK:                       Bank of Hays                                              BRANCH:

ACCOUNT NAME:                       Operating                                                 ACCOUNT NUMBER:         **1901

PURPOSE OF ACCOUNT:                OPERATING

                               Ending Balance per Bank Statement                                                  $                       85,002.90
                               Plus Total Amount of Outstanding Deposits                                          $                             ‐
                               Minus Total Amount of Outstanding Checks and other debits                          $                      (61,452.79) *
                               Minus Service Charges                                                              $                             ‐
                               Ending Balance per Check Register                                                  $                       23,550.11 **(a)

*Debit cards are used by Purchasing Dept, CEO, and Cohesive Executive VP of Finance

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment 4D:
( Check here if cash disbursements were authorized by United States Trustee)

 Date                               Amount                               Payee                        Purpose               Reason for Cash Disbursement

N/A




                                                                TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS

“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                                                                                          $                       Transferred to Payroll Account
                                                                                          $                       Transferred to Tax Account


(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR‐2, Line 7).




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                                                                              Attachment 4A(2)

                                                     MONTHLY SUMMARY OF BANK ACTIVITY ‐ OPERATING ACCOUNT


Name of Debtor:                    CAH Acquisition Company #5, LLC         Case Number:                    19‐10359

Reporting Period beginning         5/1/2019                                Period ending                   5/31/2019




Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation
form can be found at http://www.justice.gov/ust/r20/index.htm. If bank accounts other than the three required by the United States
Trustee Program are necessary, permission must be obtained from the United States Trustee prior to opening the accounts. Additionally, use
of less than the three required bank accounts must be approved by the United States Trustee.


NAME OF BANK:                      US Bank                                 BRANCH:

ACCOUNT NAME:                      Depository                              ACCOUNT NUMBER:                 ********4141

PURPOSE OF ACCOUNT:                OPERATING

                              Ending Balance per Bank Statement                                    $                          32,050.25
                              Plus Total Amount of Outstanding Deposits                            $                                ‐
                              Minus Total Amount of Outstanding Checks and other debits            $                                ‐   *
                              Minus Service Charges                                                $                                ‐
                              Ending Balance per Check Register                                    $                          32,050.25 **(a)

*Debit cards are used by Purchasing Dept, CEO, and Cohesive Executive VP of Finance

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment 4D:
( Check here if cash disbursements were authorized by United States Trustee)

 Date                              Amount                              Paye         Purpose                      Reason for Cash Disbursement




                                                         TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS

“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                                                                       $                           Transferred to Payroll Account
                                                                       $                           Transferred to Tax Account


(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR‐2, Line 7).




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                                                                        MOR‐8 (2)                                         Page 9 of 44
                                                                               Attachment 4A(3)

                                                     MONTHLY SUMMARY OF BANK ACTIVITY ‐ OPERATING ACCOUNT


Name of Debtor:                    CAH Acquisition Company #5, LLC           Case Number:                   19‐10359

Reporting Period beginning         5/1/2019                                  Period ending                  5/31/2019




Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation form
can be found at http://www.justice.gov/ust/r20/index.htm. If bank accounts other than the three required by the United States Trustee
Program are necessary, permission must be obtained from the United States Trustee prior to opening the accounts. Additionally, use of less
than the three required bank accounts must be approved by the United States Trustee.


NAME OF BANK:                      Hillsboro State Bank                      BRANCH:

ACCOUNT NAME:                      Savings                                   ACCOUNT NUMBER:                **7195

PURPOSE OF ACCOUNT:                OPERATING

                              Ending Balance per Bank Statement                                     $                          12,495.29
                              Plus Total Amount of Outstanding Deposits                             $                                ‐
                              Minus Total Amount of Outstanding Checks and other debits             $                                ‐   *
                              Minus Service Charges                                                 $                                ‐
                              Ending Balance per Check Register                                     $                          12,495.29 **(a)

*Debit cards are used by Purchasing Dept, CEO, and Cohesive Executive VP of Finance

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment 4D:
( Check here if cash disbursements were authorized by United States Trustee)

 Date                              Amount                            Payee           Purpose                      Reason for Cash Disbursement




                                                          TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS

“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                                                                        $                           Transferred to Payroll Account
                                                                        $                           Transferred to Tax Account


(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR‐2, Line 7).




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                                                                             (3)   07/31/19                              Page 10 of 44
                                                                       ATTACHMENT 5A

                                                            CHECK REGISTER ‐ OPERATING ACCOUNT

Name of Debtor:                     CAH Acquisition Company #5, LLC                Case Number:                        19‐10359

Reporting Period beginning          5/1/2019                                       Period ending                       5/31/2019

NAME OF BANK:                       Bank of Hays                                   BRANCH:

ACCOUNT NAME:                       Operating                                      ACCOUNT NUMBER:                     **1901

PURPOSE OF ACCOUNT:                 OPERATING



Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer generated check register can be attached to this report, provided all the
information requested below is included.

See Exhibit 4 for a complete summary of Debtor's Post‐Petition Operating Disbursements.

TOTAL                                                                                                                                                   $                       457,859.64




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                                                                           ATTACHMENT 4B

                                                   MONTHLY SUMMARY OF BANK ACTIVITY ‐ PAYROLL ACCOUNT


Name of Debtor:                    CAH Acquisition Company #5, LLC         Case Number:                            19‐10359

Reporting Period beginning         5/1/2019                                Period ending                           5/31/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation form can be found at
http://www.justice.gov/ust/r20/index.htm.


NAME OF BANK:                      Bank of Hays                            BRANCH:

ACCOUNT NAME:                      Payroll                                 ACCOUNT NUMBER:                         **2061

PURPOSE OF ACCOUNT:                PAYROLL


                                Ending Balance per Bank Statement                                              $                    9,704.91
                                 Plus Total Amount of Outstanding Deposits                                     $                         ‐
                                 Minus Total Amount of Outstanding Checks and other debits                     $                  (10,049.72) *
                                 Minus Service Charges                                                         $                         ‐
                                Ending Balance per Check Register                                              $                     (344.81) **(a)


Itemized payroll detail will be provided to the U.S. Trustee upon request.
*Debit cards must not be issued on this account.

**If Closing Balance is negative, provide explanation: Transfer of cash from operating account occurred on 4/1/19

The following disbursements were paid by Cash:
( Check here if cash disbursements were authorized by United States Trustee)

Date                               Amount                                  Payee                                   Purpose                       Reason for Cash Disbursement




The following non‐payroll disbursements were made from this account:

                                                                                                                                                 Reason for disbursement from
Date                                 Amount                                Payee                                   Purpose                               this account




(a)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR‐2, Line 7).




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                                                                            ATTACHMENT 5B

                                                          CHECK REGISTER ‐ PAYROLL ACCOUNT


Name of Debtor:                     CAH Acquisition Company #5, LLC         Case Number:                         19‐10359

Reporting Period beginning          5/1/2019                                Period ending                        5/31/2019

NAME OF BANK:                       Bank of Hays                            BRANCH:

ACCOUNT NAME:                       Payroll                                 ACCOUNT NUMBER:                      **2061

PURPOSE OF ACCOUNT:                 PAYROLL


Account for all disbursements, including voids, lost payments, stop payment, etc. In the alternative, a computer generated check register can be attached to this report, provided all
the information requested below is included.

Itemized payroll detail will be provided to the U.S. Trustee upon request.
TOTAL                                                                                                                                            $                       182,250.70




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                                                                        ATTACHMENT 4D

                                                        INVESTMENT ACCOUNTS AND PETTY CASH REPORT


Each savings and investment account, i.e. certificates of deposits, money market accounts, stocks and bonds, etc., should be listed separately. Attach copies of account

Type of Negotiable
Instrument                         Face Value                           Purchase Price                     Date of Purchase                     Current Market Value

N/A

TOTAL                                                                                                                                       $


                                                                        PETTY CASH REPORT


The following Petty Cash Drawers/Accounts are maintained:


Location of                        (Column 2)                           (Column 3)                         (Column 4)
Box/Account                        Maximum                              Amount of Petty                    Difference between (Column 2)
                                   Amount of Cash                       Cash On Hand                       & (Column 3)
                                   in Drawer/Acct.                      At End of Month

Registration                                             2,400.00                             704.57                           (1,695.43)
Cafeteria                                                     ‐                               348.54                              348.54




TOTAL                                                               $                       1,053.11 (b)

For any Petty Cash Disbursements over $100 per transaction, attach copies of receipts. If there are no receipts, provide an explanation
Note: No disbursements over $100.




TOTAL INVESTMENT ACCOUNTS AND PETTY CASH(a + b)                     $                       1,053.11 (c)

(c)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the
   amount reported as “Ending Balance” on Schedule of Receipts and Disbursements (Page
   MOR‐2, Line 7).




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                                                                            Filed 07/31/19                                    Page 14 of 44
                                                                                               ATTACHMENT 6

                                                                                           MONTHLY TAX REPORT


Name of Debtor:                  CAH Acquisition Company #5, LLC        Case Number:                        19‐10359

Reporting Period beginning       5/1/2019                               Period ending                       5/31/2019


                                                                                           TAXES OWED AND DUE


                      Report all unpaid post‐petition taxes including Federal and State withholding FICA, State sales tax, property tax, unemployment tax, State workmen's compensation, etc.




Name of Taxing Authority         Date Payment Due                       Description                         Amount                            Date Last Tax Return Filed          Tax Return Period

Marion County                                                           Property Taxes                                          41,250.00
IRS                                                       7/31/2019     Unemployment                                               349.45
State of Kansas                                           7/31/2019     Unemployment                                             1,699.16
State of Kansas                                                         Sales Tax                                                  356.39                                              March/April/May 2019




TOTAL                                                                                                   $                       43,655.00




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                                                                                                      ATTACHMENT 7

                                                                                   SUMMARY OF OFFICER OR OWNER COMPENSATION

                                                                                SUMMARY OF PERSONNEL AND INSURANCE COVERAGES


Name of Debtor:                      CAH Acquisition Company #5, LLC          Case Number:                            19‐10359

Reporting Period beginning           5/1/2019                                 Period ending                           5/31/2019



Report all forms of compensation received by or paid on behalf of the Officer or Owner during the month. Include car allowances, payments to retirement plans, loan repayments, payments of Officer/Owner’s
personal expenses, insurance premium payments, etc. Do not include reimbursement for business expenses Officer or Owner incurred and for which detailed receipts are maintained in the accounting records.



Name of Officer or Owner             Title                                    Payment Description                     Amount Paid




TOTAL                                                                                                             $




                                                                                                    PERSONNEL REPORT


                                                                              Full Time                               Part Time

Number of employees at beginning of period                                                                   37                                     35
Number hired during the period                                                                                3                                      2
Number terminated or resigned during period                                                                   2                                     11
Number of employees on payroll at end of period                                                              38                                     26


                                                                                              CONFIRMATION OF INSURANCE


List all policies of insurance in effect, including but not limited to workers' compensation, liability, fire, theft, comprehensive, vehicle, health and life. For the first report, attach a copy of the declaration sheet for each
type of insurance. For subsequent reports, attach a certificate of insurance for any policy in which a change occurs during the month (new carrier, increased policy limits, renewal, etc.).

Agent and/or Carrier                 Phone Number                             Policy Number                           Coverage Type                        Expiration Date                     Date Premium Due

Joe Holdenried ‐ Met Life            913‐647‐5538                             KM05958172                              Dental, Vision, STD, LTD, Vol Life                        3/5/2020       Monthly
Joe Holdenried ‐ Aetna               913‐647‐5538                             139199                                  Medical                                                   3/1/2020       Monthly
Kansas Health Service Corp           785‐233‐7436                                                                     Workers Compensation                                      1/1/2020       Monthly
Conrade Insurance Group              316‐283‐0096                             BRP‐0000‐00278581A                      Employment Practices                                      4/1/2020       Monthly
Hanover Insurance Group              913‐341‐8898                             D786807                                 Property Insurance                                      12/21/2019       Quarterly
Conrade Insurance Group              316‐283‐0096                             HPL0027851                              Professional Liability                                    4/1/2020       Monthly




The following lapse in insurance coverage occurred this month:

Policy                               Date                                     Date
Type                                 Lapsed                                   Reinstated                              Reason for Lapse




 Check here if U. S. Trustee has been listed as Certificate Holder for all insurance policies.




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                                                                                            ATTACHMENT 8

                                                                     SIGNIFICANT DEVELOPMENTS DURING REPORTING PERIOD

Information to be provided on this page, includes, but is not limited to: (1) financial transactions that are not reported on this report, such as the sale
of real estate (attach closing statement); (2) non‐financial transactions, such as the substitution of assets or collateral; (3) modifications to loan agreements;
(4) change in senior management, etc. Attach any relevant documents.




We anticipate filing a Plan of Reorganization and Disclosure Statement on or before




                                Case 19-10359                           Doc# 177-3MOR‐17
                                                                                      Filed 07/31/19                                        Page 17 of 44
Hillsboro Community Hospital                                    Exhibit 1
Balance Sheet ‐ Unaudited

                                                            As of
                                                           5/31/19

ASSETS
CASH                                                $             68,813
ACCOUNTS RECEIVABLE                                           984,872.09
INVENTORY                                                      58,679.62
PREPAIDS AND OTHER ASSETS                                     105,731.27
DUE FROM MEDICARE                                             564,259.00
CAPITAL ASSETS, NET                                         9,550,519.28

TOTAL ASSETS                                        $        11,332,874

LIABILITIES AND EQUITY
ACCOUNTS PAYABLE                                    $          1,447,196
ACCRUED LIABILITIES                                         2,081,720.83
DUE TO MEDICARE                                               878,806.78
DUE TO/FROM THIRD PARTIES                                    (678,967.47)
NOTES PAYABLE ‐ BANK OF HAYS                                1,279,768.07
LONG‐TERM DEBT                                              9,724,660.44
SUSPENSE LIABILITIES                                         (297,152.87)
TOTAL LIABILITIES                                   $         14,436,032

EQUITY                                                     (3,103,158.36)

TOTAL LIABILITIES AND EQUITY                        $        11,332,874




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Hillsboro Community Hospital                                   Exhibit 2
Income Statements ‐ Unaudited

                                                           As of
                                                          5/31/19

REVENUE
PATIENT SERVICE REVENUE, GROSS                     $           893,061
CONTRACTUAL ADJUSTMENTS                                       (513,205)
PROVISION FOR BAD DEBT EXPENSE                                 (32,869)
PATIENT SERVICE REVENUE, NET                       $           346,987

OTHER REVENUE                                                       1,623

EXPENSES
SALARIES AND BENEFITS                              $           293,208
SUPPLIES AND OTHER                                             290,672
Bankruptcy Costs                                                74,233
DEPRECIATION                                                    52,692
TOTAL OPERATING EXPENSES                           $           710,805

NET INCOME (LOSS)                                  $          (362,195)




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Hillsboro Hospital                                                                                                                                           Exhibit 3
Cash Disbursements - Accounts Payable




Invoice Date         Paid Date          Vendor                                  Due date    Descr                                  Amount     A/P           Paid in May
5/4/2019             5/4/2019           A0005--MEDLINE                          6/3/2019    Supplies                                609.76                       609.76
5/7/2019             5/7/2019           A0005--MEDLINE                          6/6/2019    Supplies                                508.29                       508.29
5/7/2019             5/7/2019           A0005--MEDLINE                          6/6/2019    Coban                                    25.48                        25.48
5/7/2019             5/7/2019           A0005--MEDLINE                          6/6/2019    Winged Set                              234.93                       234.93
5/7/2019             5/7/2019           A0005--MEDLINE                          6/6/2019    H-Pylori Test                           301.06                       301.06
5/8/2019             5/8/2019           A0005--MEDLINE                          6/7/2019    Surgilast for ED                          5.43                          5.43
5/9/2019             Pre-Pay            A0005--MEDLINE                          6/8/2019    Supplies                                720.69                       720.69
5/9/2019             Pre-Pay            A0005--MEDLINE                          6/8/2019    Supplies                                299.99                       299.99
5/11/2019            Pre-Pay            A0005--MEDLINE                          6/10/2019   Supplies                                234.93                       234.93
5/11/2019            Pre-Pay            A0005--MEDLINE                          6/10/2019   Supplies                                717.49                       717.49
5/13/2019            Pre-Pay            A0005--MEDLINE                          6/12/2019   Supplies                                512.99                       512.99
5/13/2019            Pre-Pay            A0005--MEDLINE                          6/12/2019   Supplies                                 29.33                        29.33
5/14/2019            Pre-Pay            A0005--MEDLINE                          6/13/2019   Supplies                                984.55                       984.55
5/15/2019            Pre-Pay            A0005--MEDLINE                          6/14/2019   BP Cuff                                  41.02                        41.02
5/15/2019            Pre-Pay            A0005--MEDLINE                          6/14/2019   PrePay for Supplies                    5,000.00                    5,000.00
5/15/2019            Pre-Pay            A0005--MEDLINE                          6/14/2019   Prepayment Credit                     -5,000.00                   (5,000.00)
5/20/2019            Pre-Pay            A0005--MEDLINE                          6/19/2019   Supplies                                524.44                       524.44
5/20/2019            Pre-Pay            A0005--MEDLINE                          6/19/2019   RT supplies                            2,130.59                    2,130.59
5/20/2019            Pre-Pay            A0005--MEDLINE                          6/19/2019   RT supplies                             187.31                       187.31
5/24/2019            Pre-Pay            A0005--MEDLINE                          6/23/2019   Supplies                                541.25                       541.25
5/24/2019            Pre-Pay            A0005--MEDLINE                          6/23/2019   Exchanger for RT                         39.72                        39.72
5/25/2019            Pre-Pay            A0005--MEDLINE                          6/24/2019   interest                                 97.05                        97.05
5/25/2019            Pre-Pay            A0005--MEDLINE                          6/24/2019   Supplies                                687.41                       687.41
5/29/2019                               A0018--ATMOS ENERGY                     6/28/2019   Gas                                    2,081.21   2,081.21
5/29/2019                               A0018--ATMOS ENERGY                     6/28/2019   Gas for Downtown Clinic                  17.52          17.52
5/24/2019                               A0019--CITY OF HILLSBORO                6/15/2019   city bill                              7,767.05   7,767.05
5/3/2019             Pre-Pay            A0021--BAYER HEALTHCARE                 6/2/2019    syringes for CT                        1,006.65                    1,006.65
5/3/2019             Pre-Pay            A0021--BAYER HEALTHCARE                 6/2/2019    Syringes                                671.88                       671.88
5/2/2019             5/2/2019           A0032--BECKMAN COULTER                                                                      258.68                       258.68
5/3/2019             5/7/2019           A0032--BECKMAN COULTER                  6/2/2019    TSH Access                              258.68                       258.68
5/9/2019             5/15/2019          A0032--BECKMAN COULTER                  6/8/2019    Supplies                                871.75                       871.75
5/13/2019            5/16/2019          A0032--BECKMAN COULTER                  6/12/2019   Lab Supplies                            900.00                       900.00
5/13/2019            5/14/2019          A0032--BECKMAN COULTER                  6/12/2019   Balance due on prepayment               274.88                       274.88
5/14/2019            5/14/2019          A0032--BECKMAN COULTER                  6/13/2019   Balance due on prepayment               102.23                       102.23
5/15/2019            5/28/2019          A0032--BECKMAN COULTER                  6/14/2019   Meter Billing: Read 05/14/19           3,152.18                    3,152.18
5/22/2019            5/30/2019          A0032--BECKMAN COULTER                  6/21/2019   Lab Supplies                            550.50                       550.50
5/22/2019            5/30/2019          A0032--BECKMAN COULTER                  6/21/2019   Underpaid: 56641375                      76.67                        76.67
5/28/2019                               A0032--BECKMAN COULTER                  6/27/2019   Freight for supplies                     33.54          33.54
5/31/2019                               A0032--BECKMAN COULTER                  6/30/2019   Service and Maint for May              2,270.67   2,270.67
5/7/2019             5/29/2019          A0039--CENTURY LINK                     6/6/2019    Phone                                    -19.50                      (19.50)
5/7/2019             5/29/2019          A0039--CENTURY LINK                     6/6/2019    Phone                                   621.60                       621.60
5/1/2019             5/8/2019           A0043--CLINICAL REFERENCE LAB           5/31/2019   Employee Drug Screens                    75.00                        75.00
5/22/2019                               A0053--EAGLE COMMUNICATIONS             6/21/2019   TV                                      422.30      422.30
5/31/2019                               A0064--HILLSBORO HOMETOWN PHARMACY      6/25/2019   Pharmacy expenses for May 2019          205.80      205.80
5/25/2019                               A0071--ICE-MASTERS                      6/24/2019   June Rent                               390.60      390.60
5/1/2019             5/8/2019           A0100--PETTY CASH                       5/31/2019   Petty Cash                              635.87                       635.87
5/22/2019            5/29/2019          A0100--PETTY CASH                       6/21/2019   Petty Cash Reimbursement                854.73      854.73
5/6/2019             5/7/2019           A0112--SAM'S CLUB                       6/5/2019    Coffee Maker                            507.78                       507.78
5/1/2019             5/22/2019          A0119--ST LUKES HOSP & LIVING CNTR      5/31/2019   Lab Services                             44.00                        44.00
5/18/2019                               A0128--VERIZON WIRELESS                 6/17/2019   6/10/2019                               208.23      208.23
5/13/2019            5/16/2019          A0157--QUILL CORPORATION                6/12/2019   Folders for Doctors/Cred                177.98                       177.98
5/17/2019                               A0158--KONICA MINOLTA BUSINESS SOL      6/16/2019   Copiers                                  72.34          72.34
5/17/2019                               A0158--KONICA MINOLTA BUSINESS SOL      6/16/2019   Copiers                                 146.00      146.00
5/17/2019                               A0158--KONICA MINOLTA BUSINESS SOL      6/16/2019   Copiers                                 608.06      608.06
5/21/2019                               A0163--AMERICAN FIRE SPRINKLER          7/3/2019                                            325.00      325.00
5/23/2019            5/24/2019          A0188--ALIMED INC                       6/22/2019   OT Supplies                              82.74                        82.74
5/29/2019                               A0226--KCI CLINICAL ADVANTAGE           6/28/2019   Rental: Hiebert                         288.35      288.35
5/21/2019                               A0227--COUNTRY HAVEN INN                6/4/2019    Herwich                                 138.48      138.48
5/22/2019                               A0227--COUNTRY HAVEN INN                6/5/2019    Dierking                                 78.32          78.32
5/27/2019                               A0227--COUNTRY HAVEN INN                6/6/2019    Herwich                                 156.64      156.64
5/29/2019                               A0227--COUNTRY HAVEN INN                6/5/2019    Dierking                                 78.32          78.32
5/21/2019                               A0257--SMAART MEDICAL SYSTEMS INC       6/20/2019   PACS 05/18-06/17                        950.00      950.00
5/31/2019                               A0273--SHARED MEDICAL SERVICES INC      6/30/2019                                           350.00      350.00
5/9/2019             5/22/2019          A0276--MASSCO MAINT SUPPLY COMPANY IN   6/8/2019    Balance due on prepay                    19.86                        19.86
5/9/2019             5/9/2019           A0276--MASSCO MAINT SUPPLY COMPANY IN   6/8/2019    Housekeeping Supplies                   233.61                       233.61
5/22/2019            5/22/2019          A0276--MASSCO MAINT SUPPLY COMPANY IN   6/21/2019   Housekeeping                            207.86                       207.86
5/3/2019             5/8/2019           A0286--ALISA SCHMIDT MD                 6/2/2019    Mileage                                  62.64                        62.64
5/3/2019                                A0286--ALISA SCHMIDT MD                 5/3/2019    UP TO DATE - SUB                       -519.00                      (519.00)
5/8/2019             5/29/2019          A0309--WERFEN USA LABS                  6/7/2019    Lab Supplies                            447.02                       447.02
5/15/2019                               A0309--WERFEN USA LABS                  6/14/2019   Lab Supplies                            791.73      791.73
5/23/2019            5/24/2019          A0443--MARKETLAB INC                    6/22/2019   Thermometers                            156.13                       156.13
5/22/2019                               A0469--GREGORY ERB, MD                  5/22/2019   Up-To Date                            -1,583.92                          -
5/31/2019                               A0480--AFFILIATED MEDICAL SERVICES      6/30/2019   interest                                591.90      591.90
5/30/2019                               A0542--ECOLAB PEST ELIM DIV             6/29/2019   Pest Control                            370.49      370.49
5/2/2019             5/8/2019           A0552--AMERIPRIDE                       6/1/2019    Laundry Services                       1,134.63                    1,134.63
5/9/2019             5/15/2019          A0552--AMERIPRIDE                       6/8/2019    Laundry Services                       1,127.75                    1,127.75
5/16/2019            5/22/2019          A0552--AMERIPRIDE                       6/15/2019   Laundry Services                       1,132.63                    1,132.63
5/23/2019                               A0552--AMERIPRIDE                       6/22/2019   Laundry Services                       1,132.63   1,132.63
5/30/2019            5/29/2019          A0552--AMERIPRIDE                       6/29/2019   Laundry                                1,132.63                    1,132.63




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5/2/2019    5/6/2019        A0582--MCKESSON MEDICAL SURGICAL          6/1/2019     BNP                                         802.90                   802.90
5/5/2019    5/8/2019        A0582--MCKESSON MEDICAL SURGICAL          6/4/2019     Standing Order                             5,248.75                 5,248.75
5/9/2019    5/13/2019       A0582--MCKESSON MEDICAL SURGICAL          6/8/2019     Supplies                                    141.33                   141.33
5/9/2019    5/13/2019       A0582--MCKESSON MEDICAL SURGICAL          6/8/2019     Supplies                                    596.40                   596.40
5/22/2019   5/28/2019       A0582--MCKESSON MEDICAL SURGICAL          6/21/2019    Frosted Slides                               69.83                    69.83
5/31/2019                   A0582--MCKESSON MEDICAL SURGICAL          6/30/2019    interest                                    105.18      105.18
5/23/2019   5/29/2019       A0592--MEDICUS HEALTH                     6/22/2019    Lab Supplies/Blood Bank                     132.00                   151.70
5/23/2019   5/29/2019       A0592--MEDICUS HEALTH                     6/22/2019    Lab Supplies                                713.00                   760.81
5/22/2019                   A0605--CITY OF HILLSBORO BOND             6/21/2019    Bond                                       7,412.50    7,412.50
5/15/2019   5/22/2019       A0639--MATHESON TRI-GAS INC               6/14/2019    Nitrogen for Clinic                          66.67                    66.67
5/29/2019                   A0639--MATHESON TRI-GAS INC               6/28/2019    O2                                          146.42      146.42
5/31/2019                   A0639--MATHESON TRI-GAS INC               6/30/2019                                                640.57      640.57
5/31/2019                   A0639--MATHESON TRI-GAS INC               6/30/2019    Service Charge                                 1.88        1.88
5/31/2019                   A0639--MATHESON TRI-GAS INC               6/30/2019    Service Charge                               80.77       80.77
5/31/2019                   A0639--MATHESON TRI-GAS INC               6/30/2019    Nitrogen                                    159.86      159.86
5/13/2019   5/15/2019       A0640--ATHENA HEALTH                      6/12/2019    Service for April 2019                    19,197.64                19,197.64
5/21/2019                   A1174--MEDASSURE                          5/21/2019    Jun-18                                      -185.23
5/14/2019                   A1210--ECOLAB, INC                        6/13/2019    Rental Fee 05/02-06/01                      168.12      168.12
5/2/2019    5/22/2019       A1211--SYSCO                              6/1/2019     Dietary needs                              1,138.49                 1,138.49
5/16/2019                   A1211--SYSCO                              6/15/2019    Dietary supplies                            541.90      541.90
5/30/2019                   A1211--SYSCO                              6/29/2019    Dietary needs                               888.05      888.05
5/24/2019                   A1223--HERC                               6/23/2019    CT Lease                                   5,800.00    5,800.00
5/24/2019                   A1223--HERC                               6/23/2019    Leases                                     3,635.00    3,635.00
5/1/2019                    A1227--NET2PHONE INC                      5/15/2019    Phone Service                               814.07      814.07
5/1/2019    5/29/2019       A1228--UNDERGROUND VAULTS & STORAGE, I    5/31/2019    Rental at the Salt Mines                    323.70                   323.70
5/8/2019    5/15/2019       A1232--STRYKER INSTRUMENTS                6/7/2019     RFA Needles                                3,206.71                 3,206.71
5/1/2019    5/22/2019       A1284--REUSSER FARMS, LLC                 5/31/2019    May Rent                                    920.00                   920.00
4/25/2019                   A1290--QUEST DIANOSTICS                   5/10/2019                                               2,222.02                 2,222.02
5/28/2019                   A1290--QUEST DIANOSTICS                   6/12/2019                                               4,405.27    4,405.27
5/14/2019                   A1299--KDR HOME MAINTENANCE               6/13/2019    mowing services                             690.00      690.00
5/2/2019    5/22/2019       A1315--Heartland Pathology Laboratory     6/1/2019     April Billing                               278.00                   278.00
5/3/2019    5/22/2019       A1315--Heartland Pathology Laboratory     6/2/2019     Management Fee for May 2019                 850.00                   850.00
5/1/2019                    A1316--Cohesive HealthCare Management & Co 5/1/2019    May Management Fees                       40,000.00   40,000.00
5/2/2019                    A1316--Cohesive HealthCare Management & Co 6/1/2019                                               5,565.45    5,565.45
5/3/2019    5/29/2019       A1316--Cohesive HealthCare Management & Co 6/2/2019    Travel Exp. for Margaret Grismer           1,800.88                 1,800.88
5/14/2019   5/29/2019       A1316--Cohesive HealthCare Management & Co 6/13/2019   Microwave for kitchen                        85.98                    85.98
5/16/2019   5/22/2019       A1316--Cohesive HealthCare Management & Co 6/15/2019   Admin Expenses                             1,000.31                 1,000.31
5/17/2019   5/29/2019       A1316--Cohesive HealthCare Management & Co 6/16/2019   Legal                                      5,132.40                 5,132.40
5/17/2019   5/29/2019       A1316--Cohesive HealthCare Management & Co 6/16/2019   Lab Payroll                                6,274.17                 6,274.17
5/19/2019                   A1316--Cohesive HealthCare Management & Co 6/18/2019   Indeed and Flash Drive                      259.97      259.97
5/29/2019                   A1316--Cohesive HealthCare Management & Co 6/28/2019                                             85,000.00   85,000.00
5/31/2019                   A1316--Cohesive HealthCare Management & Co 6/30/2019   Contract Labor: LAB                        5,234.48    5,234.48
5/9/2019    5/9/2019        A1318--REDDEN TAX & ACCOUNTING            6/8/2019     Payroll for 05/10/19                        480.00                   480.00
5/22/2019   5/24/2019       A1318--REDDEN TAX & ACCOUNTING            6/21/2019    Payroll ending 05/18/19                     510.00                   510.00
5/13/2019   5/22/2019       A1321--Medwise                            6/12/2019    Winfield                                    744.00                   744.00
5/31/2019                   A1321--Medwise                            6/30/2019    Transports                                  780.00      780.00
5/2/2019    5/6/2019        A1322--Midwest Single Source              6/1/2019     Storage Cart for CS                          64.66                    64.66
5/3/2019    5/8/2019        A1322--Midwest Single Source              6/2/2019     Supplies                                     53.88                    53.88
5/7/2019    5/7/2019        A1322--Midwest Single Source              6/6/2019     AA Batteries                                201.98                   201.98
5/8/2019    5/8/2019        A1322--Midwest Single Source              6/7/2019     Supplies                                    181.05                   181.05
5/16/2019   5/20/2019       A1322--Midwest Single Source              6/15/2019    Toner for Ken                               224.11                   224.11
5/21/2019   5/24/2019       A1322--Midwest Single Source              6/20/2019    Supplies                                    509.92                   509.92
5/23/2019   5/28/2019       A1322--Midwest Single Source              6/22/2019    Supplies                                    119.98                   119.98
5/1/2019    5/1/2019        A1322--Midwest Single Source                           Supplies                                     20.19                    20.19
5/1/2019    5/1/2019        A1322--Midwest Single Source                           Supplies                                     31.47                    31.47
5/3/2019    5/8/2019        A1324--24/SEVO ANESTHESIA LLC             6/2/2019     04/29/19 Pain Clinic                       1,496.00                 1,496.00
5/13/2019   5/22/2019       A1324--24/SEVO ANESTHESIA LLC             6/12/2019    05/13/19 Pain Clinic                       2,798.00                 2,798.00
5/3/2019    5/8/2019        A1325--Comprehensive Anesthesia PA        6/2/2019     04/22-05/05/19                             7,860.00                 7,860.00
5/19/2019   5/22/2019       A1325--Comprehensive Anesthesia PA        6/18/2019    Pain Clinic 05/06, 05/13 and 05/14        11,606.00                11,606.00
5/9/2019                    A1326--Ben E. Keith                       6/8/2019     Credit                                      -146.92     (146.92)
5/8/2019    5/22/2019       A1332--BKD, LLP                           6/7/2019     April services                             1,976.00                 1,976.00
5/15/2019                   A1338--Aetna                              6/14/2019    Health Insurance                          19,949.84   19,949.84
5/29/2019   5/29/2019       A1340--Sooner Radiology Solutions, LLC    6/1/2019     June 2019 Lease Payment                    3,750.00                 3,750.00
5/10/2019   5/29/2019       A1341--CALIFORNIA STATE DISBURSEMENT UN 5/10/2019                                                   70.15                    70.15
5/24/2019                   A1341--CALIFORNIA STATE DISBURSEMENT UN 6/7/2019                                                    70.15       70.15
5/24/2019   5/29/2019       A1341--CALIFORNIA STATE DISBURSEMENT UN 5/24/2019                                                   70.15                    70.15
5/15/2019   5/29/2019       A1346--MetLife Small Business Center      6/14/2019    Insurance                                  5,379.78                 5,379.78
5/2/2019    5/8/2019        A1348--Insight Direct USA, Inc            6/1/2019     Security Sub License                        412.98                   412.98
5/3/2019    5/22/2019       A1348--Insight Direct USA, Inc            6/2/2019     Keyboard, Surface Pro, Surface Pro Case    1,212.97                 1,212.97
5/21/2019                   A1348--Insight Direct USA, Inc            6/20/2019    License and Minor Equipment                7,318.50    7,318.50
5/24/2019   5/29/2019       A1348--Insight Direct USA, Inc            6/19/2019                                               3,076.27                 3,076.27
5/1/2019    5/15/2019       A1349--Conrade Insurance Group            5/31/2019    Property Deductible buy back               2,812.18                 2,812.18
5/8/2019    5/29/2019       A1354--Agility Recovery                   6/7/2019     Monthly Subscription                        460.00                   460.00
5/12/2019                   A1359--Caring for Kansas, INC             6/11/2019    04/28/19-05/11/19                           777.75      777.75
5/26/2019                   A1359--Caring for Kansas, INC             6/25/2019    Staffing for RN                            4,262.50    4,262.50
5/13/2019                   A1362--Capital Premium Financing, INC     6/12/2019                                               3,786.95    3,786.95
5/10/2019   5/16/2019       A1364--Nihon Kohden America, INC          6/9/2019     Adult Cuff                                  108.31                   108.31
5/15/2019   5/23/2019       A1364--Nihon Kohden America, INC          6/14/2019    Adult Cuffs                                 153.92                   153.92
5/13/2019                   A1365--Fenwal INC                         6/12/2019    Tubing for IV pumps                         357.73      357.73
5/22/2019                   A1365--Fenwal INC                         6/21/2019    IV Pump Lease                              2,866.70    2,866.70
5/24/2019                   A1365--Fenwal INC                         6/23/2019    IV Pump Lease: (May)                       2,866.70    2,866.70
5/7/2019                    A1366--AmerisourceBergen                  6/6/2019     Pharmacy                                   9,604.66                 9,604.66
5/8/2019                    A1366--AmerisourceBergen                  6/7/2019     Pharmacy                                    193.91                   193.91




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5/15/2019                     A1366--AmerisourceBergen                   6/14/2019   PrePay for Pharmacy                  10,000.00                   10,000.00
5/15/2019                     A1366--AmerisourceBergen                   6/14/2019   Prepayment Credit 051519            -10,000.00                   (10,000.00)
5/28/2019                     A1366--AmerisourceBergen                   5/28/2019   pharmacy                               121.94                       121.94
5/28/2019                     A1366--AmerisourceBergen                   5/28/2019   pharmacy                              3,462.87                    3,462.87
5/30/2019                     A1366--AmerisourceBergen                   5/30/2019   pharmacy                              1,845.97                    1,845.97
5/31/2019                     A1366--AmerisourceBergen                   5/31/2019   pharmacy                                  7.16                         7.16
5/7/2019      5/15/2019       A1367--Kansas Employment Security Fund     6/6/2019    Unemployemnt Tax Balance Due            41.86                        41.86
5/3/2019      5/3/2019        A1368--ULINE                               6/2/2019    Cover for Laundry Cart                 168.69         168.69
5/17/2019                     A1369--Wescott Laboratory Solutions, LLC   6/16/2019   Lab Supplies                           258.60         258.60
5/16/2019     5/17/2019       A1370--Show Me Cables                      6/15/2019   Connector for Plant OPS                   5.58                         5.58
5/16/2019     5/17/2018       A1371--Kraft Medical Products, Inc         6/15/2019   C-Arm Rental                          5,250.00                    5,250.00
5/20/2019     5/22/2019       A1372--GlassRatner                         6/19/2019   Retainer                             25,000.00                   25,000.00
5/21/2019     5/29/2019       A1373--Stevens and Brand, LLP              6/20/2019   Legal                                49,232.51                   49,232.51
5/24/2019     5/28/2019       A1374--Home Depot                          6/23/2019   Diaphragm Repair for Toilets            51.80                        51.80
5/24/2019     5/22/2019       A1375--Amazon                                                                                  21.99                        21.99
5/24/2019     5/24/2019       A1375--Amazon                              6/23/2019   Bins for RT                            113.58                       113.58
5/24/2019                     A1376--Cohesive Staffing Solutions LLC     6/23/2019   RT Staffing                           2,391.91      2,391.91
5/3/2019      5/3/2019        A1379--KHA Workers Comp                    5/3/2019                                          1,895.00                    1,895.00
5/31/2019                     A1382--US Med-Equip                        6/30/2019   Rental                                 627.60         627.60
5/28/2019                     A1389--Cal Scientific                      6/27/2019   MLA Calibration for lab                408.95         408.95
5/31/2019     5/31/2019       Imprimis                                                                                      330.00                       330.00
5/17/2019     5/17/2019       Mercotac                                                                                       79.91                        79.91
5/16/2019     5/16/2019       Merge Healthcare                                                                              312.75                       312.75
5/3/2019      5/3/2019        Notary Public                                                                                 110.00                       110.00
5/21/2019     5/21/2019       NPDB.HRSA.GOV                                                                                    2.00                         2.00
Grand total                                                                                                             445,943.56    228,625.05    219,155.17




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Hillsboro Hospital                                                                                        Exhibit 4
Cash Disbursements ‐ Operating Account


  Date    Check #                          Description                    Amount                    Type
 5/1/2019   978      Cohesive Healthcare Management                        (14,884.65)   Contract Labor
 5/1/2019            HERC                                                   (9,435.00)   Leases
 5/1/2019   978      Cohesive Healthcare Management                        (45,000.00)   Management Fee
 5/1/2019   979      Insight Direct                                           (998.25)   Minor Equipment
 5/1/2019            Midwest Single Source                                     (20.19)   Office Supplies
 5/1/2019            Midwest Single Source                                     (31.47)   Office Supplies
 5/1/2019   977      Ameripride                                             (1,132.63)   Purchased Services
 5/1/2019   980      Missouri Network Alliance                              (9,250.00)   Telephone
 5/2/2019            Midwest Single Source                                    (361.21)   Office Supplies
 5/2/2019            Beckman Coulter                                          (258.68)   Supplies
 5/3/2019            KHA Work Comp                                          (1,895.00)   Insurance
 5/3/2019            Kansas.Gov ‐ Unemployment                              (4,186.41)   Insurance
 5/3/2019            Notary Public                                            (110.00)   Purchased Services
 5/6/2019            Midwest Single Source                                     (64.66)   Office Supplies
 5/6/2019            McKesson Medical Surgical                                (792.05)   Supplies
 5/6/2019            McKesson Medical Surgical                                (802.90)   Supplies
 5/7/2019            Sams Club                                                (507.78)   Supplies
 5/7/2019            Beckman Coulter                                          (258.68)   Supplies
 5/8/2019   981      24/SEVO ANESTHESIA LLC                                 (1,496.00)   Contract Labor
 5/8/2019   988      Caring for Kansas, INC                                 (1,082.75)   Contract Labor
 5/8/2019   991      Comprehensive Anesthesia PA                            (7,860.00)   Contract Labor
 5/8/2019   982      Aetna                                                 (19,949.84)   Insurance
 5/8/2019   992      ICE‐MASTERS                                            (1,020.87)   Leases
 5/8/2019            Midwest Single Source                                     (53.88)   Office Supplies
 5/8/2019   993      Insight Direct USA, Inc                                  (412.98)   Office Supplies
 5/8/2019   996      PETTY CASH                                               (500.00)   Supplies
 5/8/2019   983      ALISA SCHMIDT MD                                         (560.99)   Purchased Services
 5/8/2019   984      AMERIPRIDE                                             (1,134.63)   Purchased Services
 5/8/2019   990      CLINICAL REFERENCE LAB                                    (75.00)   Purchased Services
 5/8/2019   994      KDR HOME MAINTENANCE                                     (460.00)   Purchased Services
 5/8/2019   986      BAKER BROS PRINTING                                       (43.03)   Supplies
 5/8/2019   987      BECKMAN COULTER                                        (2,270.67)   Supplies
 5/8/2019   995      MCKESSON MEDICAL SURGICAL                              (5,248.75)   Supplies
 5/8/2019   998      WERFEN USA LABS                                        (1,680.59)   Supplies
 5/8/2019   997      VERIZON WIRELESS                                         (296.43)   Telephone
 5/8/2019   985      ATMOS ENERGY                                           (6,532.86)   Utilities
 5/8/2019   989      CITY OF HILLSBORO                                     (14,705.74)   Utilities
 5/9/2019  1000      REDDEN TAX & ACCOUNTING                                  (480.00)   Purchased Services
 5/9/2019   999      MASSCO MAINT SUPPLY COMPANY IN                           (233.61)   Supplies
5/10/2019            Midwest Single Source                                    (201.98)   Office Supplies
5/13/2019            Midwest Single Source                                    (181.05)   Office Supplies
5/13/2019            McKesson Medical Surgical                                (141.33)   Supplies
5/13/2019            McKesson Medical Surgical                                (596.40)   Supplies
5/14/2019            Beckman Coulter                                          (215.38)   Supplies
5/14/2019            Beckman Coulter                                          (174.42)   Supplies
5/15/2019  1005      Conrade Insurance Group                                (2,812.18)   Insurance



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5/15/2019   1006    EAGLE COMMUNICATIONS                                   (422.30)   Other
5/15/2019           Federal Tax Deposit                                 (36,939.62)   Payroll Taxes
5/15/2019           State Tax Deposit                                    (6,053.00)   Payroll Taxes
5/15/2019   1007    Kansas Employment Security Fund                         (41.86)   Payroll Taxes
5/15/2019   1001    AMERIPRIDE                                           (1,127.75)   Purchased Services
5/15/2019   1003    ATHENA HEALTH                                       (19,197.64)   Purchased Services
5/15/2019   1009    SHARED MEDICAL SERVICES INC                          (3,500.00)   Purchased Services
5/15/2019           BECKMAN COULTER                                        (101.67)   Supplies
5/15/2019           BECKMAN COULTER                                        (655.16)   Supplies
5/15/2019   1002    AmerisourceBergen                                   (10,000.00)   Supplies
5/15/2019   1008    MEDLINE                                              (5,000.00)   Supplies
5/15/2019   1010    STRYKER INSTRUMENTS                                  (3,206.71)   Supplies
5/16/2019           Nihon Kohden America                                   (108.31)   Supplies
5/16/2019           Quill Corporation                                      (177.98)   Supplies
5/16/2019           Merge Healthcare                                       (312.75)   Supplies
5/16/2019           Beckman Coulter                                      (1,002.23)   Supplies
5/17/2019           Mercotac                                                (79.91)   Supplies
5/17/2019           Show Me Cables                                           (5.58)   Supplies
5/17/2019           Kraft Medical Productions                            (5,270.00)   Supplies
5/20/2019           Midwest Single Source                                  (224.11)   Office Supplies
5/21/2019           NPDB.HRSA.GOV                                            (2.00)   Purchased Services
5/22/2019   1011    24/SEVO ANESTHESIA LLC                               (2,798.00)   Contract Labor
5/22/2019   1016    Comprehensive Anesthesia PA                         (11,606.00)   Contract Labor
5/22/2019   1014    CITY OF HILLSBORO BOND                               (4,304.03)   Leases
5/22/2019   1023    Insight Direct USA, Inc                              (1,212.97)   Minor Equipment
5/22/2019   1013    BKD, LLP                                             (1,976.00)   Professional Fees
5/22/2019   1018    GlassRatner                                         (25,000.00)   Professional Fees
5/22/2019   1012    AMERIPRIDE                                           (1,132.63)   Purchased Services
5/22/2019   1015    Cohesive RevOps Integration Management LLC           (2,794.00)   Purchased Services
5/22/2019   1017    ECOLAB PEST ELIM DIV                                   (370.49)   Purchased Services
5/22/2019   1020    Heartland Pathology Laboratory                       (1,128.00)   Purchased Services
5/22/2019   1026    Medwise                                              (1,044.00)   Purchased Services
5/22/2019   1027    QUEST DIANOSTICS                                    (12,475.46)   Purchased Services
5/22/2019   1029    SMAART MEDICAL SYSTEMS INC                             (950.00)   Purchased Services
5/22/2019   1030    ST LUKES HOSP & LIVING CNTR                             (44.00)   Purchased Services
5/22/2019   1034    GREGORY ERB, MD                                      (1,012.50)   Purchased Services
5/22/2019   1028    REUSSER FARMS, LLC                                     (920.00)   Rent
5/22/2019           Amazon                                                  (21.99)   Supplies
5/22/2019   1021    HILLSBORO FARMERS' MARKET                               (30.00)   Supplies
5/22/2019   1022    HILLSBORO HOMETOWN PHARMACY                            (597.37)   Supplies
5/22/2019   1024    MATHESON TRI‐GAS INC                                 (1,286.81)   Supplies
5/22/2019   1032    SYSCO                                                (1,138.49)   Supplies
5/22/2019   1033    MASSCO MAINT SUPPLY COMPANY IN                         (227.72)   Supplies
5/23/2019           Nihon Kohden America                                   (153.92)   Supplies
5/24/2019           Midwest Single Source                                  (509.92)   Office Supplies
5/24/2019   1035    REDDEN TAX & ACCOUNTING                                (510.00)   Purchased Services
5/24/2019           Alimed                                                  (82.74)   Supplies
5/24/2019           Amazon                                                 (113.58)   Supplies
5/24/2019           Marketlab                                              (156.13)   Supplies
5/24/2019           Medicus Health                                         (253.29)   Supplies
5/28/2019           Midwest Single Source                                  (119.97)   Office Supplies



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5/28/2019           Home Depot                                            (51.80)   Repairs and Maintenance
5/28/2019           McKesson Medical Surgical                             (69.83)   Supplies
5/28/2019           Beckman Coulter                                    (3,152.18)   Supplies
5/29/2019   1041    Cohesive Healthcare Management                    (14,293.74)   Contract Labor
5/29/2019   1040    CITY OF HILLSBORO BOND                             (7,412.50)   Leases
5/29/2019   1044    Sooner Radiology Solutions                         (3,750.00)   Leases
5/29/2019   1042    Insight Direct USA, Inc                            (3,076.27)   Minor Equipment
5/29/2019   1043    PETTY CASH                                           (500.00)   Supplies
5/29/2019   1038    California State Disbursement                        (140.30)   Payroll
5/29/2019           Federal Tax Deposit                               (31,373.22)   Payroll Taxes
5/29/2019           State Tax Deposit                                  (5,182.00)   Payroll Taxes
5/29/2019           Stevens and Brand, LLP                            (49,252.51)   Professional Fees
5/29/2019   1036    Agility Recovery                                     (460.00)   Purchased Services
5/29/2019   1037    Ameripride                                         (1,132.63)   Purchased Services
5/29/2019   1045    Underground Vaults & Storage                         (323.70)   Purchased Services
5/29/2019   1046    St. Lukes Hosp & Living Center                     (1,959.25)   Purchased Services
5/29/2019           Medicus Health                                       (151.70)   Supplies
5/29/2019           Medicus Health                                       (507.52)   Supplies
5/29/2019   1060    WERFEN USA LABS                                      (447.02)   Supplies
5/29/2019   1039    Century Link                                         (602.10)   Telephone
5/30/2019   1047    Metlife Small Business Center                      (5,379.78)   Insurance
5/30/2019           Beckman Coulter                                      (627.14)   Supplies
5/31/2019           Imprimis                                             (330.00)   Supplies
                    Garnishments                                          125.06

                                                                  (457,859.64)




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        Attachment A
Hillsboro Operating Account




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rJ BankofHays                               l\\U..J~ Hanston
                                             ~State Bank
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                                                                                                                                  of Jetmore
              1000 W 27th St                          102 N Logan St                   217 S Main St                   601 Main St
              Hays, KS 67601                          Hanston, KS 67849                Lewis, KS 67552                 Jetmore, KS 67854
              Ph. (785) 621-2265                      Ph. (620) 623-4811               Ph. (620) 324-5794              Ph. (620) 357-8324
              Fax (785) 621-2471                      Fax (620) 623-2727               Fax (620) 324-5797              Fax (620) 357-6398
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                      COHESIVE HEALTHCARE                                                                       Page       1
                      MANAGEMENT & CONSULTING LLC
                      101 INDUSTRIAL RD
                      HILLSBORO KS 67063-9602

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                   BASIC BUSINESS CHECKING                                                   Account No            861901


                   04-30-19    statement Balance                   298,052-86
                         42    Deposits/credits                    430,742-67
                        125    checks/Withdrawals                  643,792-63
                   05-31-19    statement Balance                    85,002-90



                   Deposits
                    Date            Description                                                                    Amount
                    --------
                    05/01/19
                                    ------------------------------
                                    BCBS OF KANSAS   HILLSBORO COMMUNITY  HO
                                                                                                        ---------------
                                                                                                              4,189-37
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/01/19        BCBS OF KANSAS   HILLSBORO COMMUNITY HO                                     2,046-00
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/01/19        BCBS OF KANSAS   HILLSBORO COMMUNITY HO                                     5,229-71
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/01/19        FEDERAL EMPLOYEE HILLSBORO COMMUNITY HO                                       467-25
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/01/19        FEDERAL EMPLOYEE HILLSBORO COMMUNITY HO                                       394-04
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/02/19        BCBS OF KANSAS   HILLSBORO COMMUNITY HO                                     1,676-62
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/02/19        BCBS OF KANSAS   HILLSBORO COMMUNITY HO                                       390-68
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/08/19        BCBS OF KANSAS   HILLSBORO COMMUNITY HO                                     7,666_32
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/08/19        BCBS OF KANSAS   HILLSBORO COMMUNITY HO                                     2,084-61
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/08/19        FEDERAL EMPLOYEE HILLSBORO COMMUNITY HO                                     1,675-54
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/09/19        WISCONSIN PHYSIC CAH ACQUISITION COMPAN                                     1,764-85
                                    ACH CREDIT HCCLAIMPMT 171357
                    05/10/19        WT FROM CAH ACQUISITION CO #5 LLC                                          21,000-00
                    05/10/19        WISCONSIN PHYSIC CAH ACQUISITION COMPAN                                     3,239-66
                                    ACH CREDIT HCCLAIMPMT 171357
                    05/13/19        WISCONSIN PHYSIC CAH ACQUISITION COM PAN                                    9,064-53
                                    ACH CREDIT HCCLAIMPMT 171357
                    05/14/19        WT ORIG CAH ACQUISITION CO                                                 34,000-00
                    05/14/19        WISCONSIN PHYSIC CAH ACQUISITION COM PAN                                   22,567-44
                                    ACH CREDIT HCCLAIMPMT 17Z357
                    05/14/19        WISCONSIN PHYSIC CAH ACQUISITION COM PAN                                   17,504-91
                                    ACH CREDIT HCCLAIMPMT 171357
                    05/15/19        WISCONSIN PHYSIC CAH ACQUISITION COM PAN                                      743-82
                                    ACH CREDIT HCCLAIMPMT 171357


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              1000 W 27th St                      102 N Logan St             217 S Main St                   601 Main St
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              Fax (785) 621-2471                  Fax (620) 623-2727         Fax (620) 324-5797              Fax (620) 357-6398
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                      COHESIVE HEALTHCARE                                                             Page          2


                                                                                        Account          861901




                   Deposits
                    Date            Description                                                          Amount
                    05/15/19        FEDERAL EMPLOYEE HILLSBORO COMMUNITY HO                             261.36
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/15/19        BCBS OF KANSAS   HILLSBORO COMMUNITY HO                          11,849.03
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/15/19        BCBS OF KANSAS   HILLSBORO COMMUNITY HO                           3,613.89
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/16/19        WISCONSIN PHYSIC CAH ACQUISITION COMPAN                           2,250.32
                                    ACH CREDIT HCCLAIMPMT 171357
                    05/21/19        WISCONSIN PHYSIC CAH ACQUISITION COMPAN                             355.37
                                    ACH CREDIT HCCLAIMPMT 171357
                    05/22/19        WISCONSIN PHYSIC CAH ACQUISITION COMPAN                             385.06
                                    ACH CREDIT HCCLAIMPMT 171357
                    05/22/19        FEDERAL EMPLOYEE HILLSBORO COMMUNITY HO                              92.36
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/22/19        FEDERAL EMPLOYEE HILLSBORO COMMUNITY HO                             418.12
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/22/19        BCBS OF KANSAS   HILLSBORO COMMUNITY HO                           6,848.31
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/22/19        BCBS OF KANSAS   HILLSBORO COMMUNITY HO                           2,674.83
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/23/19        WT FROM CAH ACQUISITION COMPANY #5 LLC                           50,000.00
                    05/23/19        WISCONSIN PHYSIC CAH ACQUISITION COMPAN                          13,490.68
                                    ACH CREDIT HCCLAIMPMT 171357
                    05/24/19        Loan Proceeds                                                   138,500.00
                    05/24/19        WT from CAH                                                      10,000.00
                    05/24/19        WISCONSIN PHYSIC CAH ACQUISITION COMPAN                          14,584.84
                                    ACH CREDIT HCCLAIMPMT 171357
                    05/24/19        WISCONSIN PHYSIC CAH ACQUISITION COMPAN                          20,686.82
                                    ACH CREDIT HCCLAIMPMT 17Z357
                    05/24/19        ST OF KS SMART   0005CAH ACQUISITION                                 67.40
                                    ACH CREDIT VEND PAYMT 0008076143
                    05/28/19        WISCONSIN PHYSIC CAH ACQUISITION COMPAN                           7,360.04
                                    ACH CREDIT HCCLAIMPMT 171357
                    05/29/19        WISCONSIN PHYSIC CAH ACQUISITION COMPAN                           3,325.79
                                    ACH CREDIT HCCLAIMPMT 171357
                    05/29/19        FEDERAL EMPLOYEE HILLSBORO COMMUNITY HO                                  4.95
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/29/19        BCBS OF KANSAS   HILLSBORO COMMUNITY HO                           6,384.73
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/29/19        BCBS OF KANSAS   HILLSBORO COMMUNITY HO                           1,850.00
                                    ACH CREDIT HCCLAIMPMT 262920149
                    05/31/19        ST OF KS SMART   0005CAH ACQUISITION                                 18.54
                                    ACH CREDIT VEND PAYMT 0008081258
                    05/31/19        EARNINGS CREDIT                                                      14.88




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              Fax (785) 621-2471                  Fax (620) 623-2727         Fax (620) 324-5797              Fax (620) 357-6398
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                      COHESIVE HEALTHCARE                                                             Page        3


                                                                                        Account          861901




                   withdrawals
                    Date            Description                                                          Amount
                    05/01/19        PURCHASE   04-29 MIDWEST SINGLE SOURCE INC                           20.19
                                    316-2676333, KS                  VNT 0805
                    05/01/19        PURCHASE   04-29 MIDWEST SINGLE SOURCE INC                           31.47
                                    316-2676333, KS                  VNT 0805
                    05/01/19        HOSPITAL EQUIP    Hillsboro Community                             9,435.00
                                    ACH DEBIT LEASE        Hills
                    05/02/19        PURCHASE   05-01 BECKMAN*COULTER                                    258.68
                                    714-871-4848 , CA                VNT 0805
                    05/02/19        PURCHASE   04-30 MIDWEST SINGLE SOURCE INC                          361.21
                                    316-2676333, KS                  VNT 0805
                    05/03/19        PURCHASE   05-02 NOTARY PUBLIC KANSAS                               110.00
                                    8506563028, FL                   VNT 0805
                    05/03/19        KHA WORK COMP     Hillsboro Comm Hosp                             1,895.00
                                    ACH DEBIT ACH Collec 5295186
                    05/03/19        KANSAS.GOV        Bank of Hays                                    4,186.41
                                    ACH DEBIT Kansas.gov 20193516758
                    05/06/19        PURCHASE   05-02 MIDWEST SINGLE SOURCE INC                           64.66
                                    316-2676333, KS                  VNT 0805
                    05/06/19        PURCHASE   05-04 MCKESSON MEDICAL SURGICAL                          792.05
                                    800-4535180, VA                  VNT 0805
                    05/06/19        PURCHASE   05-04 MCKESSON MEDICAL SURGICAL                          802.90
                                    800-4535180, VA                  VNT 0805
                    05/07/19        PURCHASE   05-06 BECKMAN*COULTER                                    258.68
                                    714-871-4848 , CA                VNT 0805
                    05/08/19        PURCHASE   05-03 MIDWEST SINGLE SOURCE INC                           53.88
                                    316-2676333, KS                  VNT 0805
                    05/09/19        PURCHASE   05-07 SAMSCLUB.COM                                       507.78
                                    888-746-7726 , AR                VNT 0805
                    05/10/19        PURCHASE   05-07 MIDWEST SINGLE SOURCE INC                          201.98
                                    316-2676333, KS                  VNT 0805
                    05/10/19        INET XFER 05-09 TO XXXXXXXX2061                                  97' 781.01
                    05/13/19        PURCHASE   05-11 MCKESSON MEDICAL SURGICAL                           141.33
                                    800-4535180, VA                  VNT 0805
                    05/13/19        PURCHASE   05-08 MIDWEST SINGLE SOURCE INC                          181.05
                                    316-2676333, KS                  VNT 0805
                    05/13/19        PURCHASE   05-11 MCKESSON MEDICAL SURGICAL                          596.40
                                    800-4535180, VA                  VNT 0805
                    05/14/19        PURCHASE   05-13 BECKMAN*COULTER                                    174.42
                                    714-871-4848 , CA                VNT 0805
                    05/14/19        PURCHASE   05-13 BECKMAN*COULTER                                    215.38
                                    714-871-4848 , CA                VNT 0805
                    05/15/19        PURCHASE   05-14 BECKMAN*COULTER                                    101.67
                                    714-871-4848 , CA                VNT 0805
                    05/15/19        PURCHASE   05-14 BECKMAN*COULTER                                    655.16
                                    714-871-4848 , CA                VNT 0805
                    05/15/19        KSDEPTOFREVENUE 0001CAH ACQUISITION                               6,053.00
                                    ACH DEBIT TAXDRAFTS 036262920149F01


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rJ BankofHays                            l\\U..J~ Hanston
                                         ~State Bank
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              1000 W 27th St                      102 N Logan St             217 S Main St                   601 Main St
              Hays, KS 67601                      Hanston, KS 67849          Lewis, KS 67552                 Jetmore, KS 67854
              Ph. (785) 621-2265                  Ph. (620) 623-4811         Ph. (620) 324-5794              Ph. (620) 357-8324
              Fax (785) 621-2471                  Fax (620) 623-2727         Fax (620) 324-5797              Fax (620) 357-6398
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                      COHESIVE HEALTHCARE                                                             Page          4


                                                                                        Account          861901




                   withdrawals
                    Date            Description                                                          Amount
                    --------
                    05/15/19
                                    ------------------------------
                                    IRS              HILLSBORO COMMUNITY  HO
                                                                                              ---------------
                                                                                                   36,939-62
                                    ACH DEBIT USATAXPYMT 270953593821674
                    05/16/19        PURCHASE   05-14 NIHON KOHDEN AMERICA                               108_31
                                    949-5801555, CA                 VNT 0805
                    05/16/19        PURCHASE   05-15 QUILL CORPORATION                                  177-98
                                    800-982-3400 ' sc               VNT 0805
                    05/16/19        PURCHASE   05-15 MERGE HEALTHCARE ESTORE                            312-75
                                    877-446-3743 , WI               VNT 0805
                    05/16/19        PURCHASE   05-15 BECKMAN*COULTER                                  1,002-23
                                    714-871-4848 , CA               VNT 0805
                    05/17/19        PURCHASE   05-16 SHOW ME CABLES                                          5-58
                                    636-519-9505 , MO               VNT 0805
                    05/17/19        PURCHASE   05-16 MERCOTAC, INC                                       79-91
                                    780-4317723, CA                 VNT 0805
                    05/17/19        WT & FEE BENF KRAFT MEDICAL PRODUCTS                              5,270-00
                    05/20/19        PURCHASE   05-16 MIDWEST SINGLE SOURCE INC                          224-11
                                    316-2676333, KS                 VNT 0805
                    05/21/19        PURCHASE   05-20 NPDB NPDB-HRSA-GOV                                      2-00
                                    800-767-6732 , VA               VNT 0805
                    05/22/19        POS PYMT   05-21 AMAZON-COM*MN7BV4HZ2                                2L99
                                    SEATTLE, WA                      SES 0805
                    05/23/19        PURCHASE   05-22 NIHON KOHDEN AMERICA                               153-92
                                    949-5801555, CA                 VNT 0805
                    05/24/19        PURCHASE   05-23 ALIMED WEBORDER                                     82-74
                                    781-329-2900 , MA               VNT 0805
                    05/24/19        POS PYMT   05-24 AMAZON-COM*MN8UK66X2                               113-58
                                    SEATTLE, WA                      SES 0805
                    05/24/19        PURCHASE   05-23 MARKETLAB INC                                      156-13
                                    866-2373722, MI                 VNT 0805
                    05/24/19        PURCHASE   05-23 IN *MEDICUS HEALTH                                 253-29
                                    616-5141140, MI                 VNT 0805
                    05/24/19        PURCHASE   05-21 MIDWEST SINGLE SOURCE INC                          509-92
                                    316-2676333, KS                 VNT 0805
                    05/24/19        INET XFER 05-24 TO XXXXXXXX2061                                  87,690-11
                    05/28/19        PURCHASE   05-24 HOMEDEPOT-COM                                       5L80
                                    800-430-3376 , GA               VNT 0805
                    05/28/19        PURCHASE   05-24 MCKESSON MEDICAL SURGICAL                           69-83
                                    800-4535180, VA                 VNT 0805
                    05/28/19        PURCHASE   05-23 MIDWEST SINGLE SOURCE INC                          119-97
                                    316-2676333, KS                 VNT 0805
                    05/28/19        PURCHASE   05-27 BECKMAN*COULTER                                  3,152-18
                                    714-871-4848 , CA               VNT 0805
                    05/29/19        PURCHASE   05-28 IN *MEDICUS HEALTH                                 15L70
                                    616-5141140, MI                 VNT 0805
                    05/29/19        PURCHASE   05-28 IN *MEDICUS HEALTH                                 507-52
                                    616-5141140, MI                 VNT 0805



                                   Case 19-10359       Doc# 177-3      Filed 07/31/19     Page 30 of 44
rJ BankofHays                            l\\U..J~ Hanston
                                         ~State Bank
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                                                                                                                              of Jetmore
              1000 W 27th St                      102 N Logan St                  217 S Main St                    601 Main St
              Hays, KS 67601                      Hanston, KS 67849               Lewis, KS 67552                  Jetmore,  KS 67854
              Ph. (785) 621-2265                  Ph. (620) 623-4811              Ph. (620) 324-5794               Ph. (620) 357-8324
              Fax (785) 621-2471                  Fax (620) 623-2727              Fax (620) 324-5797               Fax (620) 357-6398
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                      COHESIVE HEALTHCARE                                                                   Page       5


                                                                                            Account            861901




                   withdrawals
                    Date            Description                                                                Amount
                    05/29/19        KSDEPTOFREVENUE 0001CAH ACQUISITION                                     5,182.00
                                    ACH DEBIT TAXDRAFTS 036262920149F01
                    05/29/19        IRS               HILLSBORO COMMUNITY HO                              31,373.22
                                    ACH DEBIT USATAXPYMT 270954991570844
                    05/29/19        WT BENF STEVENS & BRAND LLP & WT FEE                                  49,252.51
                    05/30/19        PURCHASE   05-29 BECKMAN*COULTER                                         627.14
                                    714-871-4848 , CA               VNT 0805
                    05/31/19        PURCHASE   05-29 IMPRIMIS NJOF                                            330.00
                                    866-792-7328 , NJ               VNT 0805
                    05/31/19        DEBITS                                                                     14.88

                   checks
                    check No                 Amount Date               check No                 Amount Date
                              680            27.93      05/01/19              991           7,860.00       05/13/19
                              814         3,300.00      05/01/19*             992           1,020.87       05/10/19
                              883         1,179.56      05/03/19*             993             412.98       05/13/19
                              890         1,940.00      05/01/19*             994             460.00       05/21/19
                              912        12,250.00      05/08/19*             995           5,248.75       05/14/19
                              914        13,202.67      05/09/19*             996             500.00       05/09/19
                              915         1,364.00      05/09/19              997             296.43       05/15/19
                              956         3,786.95      05/02/19*             998           1,680.59       05/14/19
                              958         1,985.50      05/01/19*             999             233.61       05/13/19
                              961           850.00      05/03/19*            1000             480.00       05/13/19
                              965         5,000.00      05/02/19*            1001           1,127.75       05/21/19
                              967           813.07      05/02/19*            1002          10,000.00       05/20/19
                              968         5,007.80      05/02/19             1003          19,197.64       05/20/19
                              969           920.00      05/02/19             1005           2,812.18       05/20/19*
                              971         3,237.74      05/01/19*            1006             422.30       05/20/19
                              973         5,669.35      05/01/19*            1007              41.86       05/20/19
                              975            70.15      05/01/19*            1008           5,000.00       05/22/19
                              977         1,132.63      05/08/19*            1009           3,500.00       05/20/19
                              978        59,884.65      05/07/19             1010           3,206.71       05/20/19
                              979           998.25      05/06/19             1012           1,132.63       05/29/19*
                              980         9,250.00      05/13/19             1013           1,976.00       05/29/19
                              981         1,496.00      05/16/19             1014           4,304.03       05/28/19
                              982        19,949.84      05/13/19             1015           2,794.00       05/31/19
                              983           560.99      05/30/19             1016          11,606.00       05/28/19
                              984         1,134.63      05/15/19             1017             370.49       05/28/19
                              985         6,532.86      05/15/19             1020           1,128.00       05/29/19*
                              986            43.03      05/13/19             1021              30.00       05/29/19
                              987         2,270.67      05/14/19             1022             597.37       05/29/19
                              988         1,082.75      05/10/19             1023           1,212.97       05/28/19
                              989        14,705.74      05/13/19             1024           1,286.81       05/29/19
                              990            75.00      05/13/19             1026           1,044.00       05/28/19*


                                   Case 19-10359       Doc# 177-3        Filed 07/31/19        Page 31 of 44
rJ BankofHays                            l\\U..J~ Hanston
                                         ~State Bank
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                                                                                                                         of Jetmore
              1000 W 27th St                  102 N Logan St                  217 S Main St                   601 Main St
              Hays, KS 67601                  Hanston, KS 67849               Lewis, KS 67552                 Jetmore, KS 67854
              Ph. (785) 621-2265              Ph. (620) 623-4811              Ph. (620) 324-5794              Ph. (620) 357-8324
              Fax (785) 621-2471              Fax (620) 623-2727              Fax (620) 324-5797              Fax (620) 357-6398
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                      COHESIVE HEALTHCARE                                                              Page       6


                                                                                        Account           861901




                   checks
                    check No                Amount Date            check No                 Amount Date
                            1027        12,475-46     05/29/19           1034            1,012-50      05/28/19
                            1029           950-00     05/29/19*          1035              510-00      05/30/19
                            1030            44-00     05/29/19           1040            7,412-50      05/31/19*
                            1032         1,138-49     05/28/19*          1043              500-00      05/31/19*
                            1033           227-72     05/28/19
                    * Indicates Break In sequence

                   Daily Balance summary
                    Date                            Amount              Date                              Amount
                    ----------
                    05/01/2019
                                         ---------------
                                             284,661-90
                                                                        ----------
                                                                        05/16/2019
                                                                                               ---------------
                                                                                                    91,418-61
                    05/02/2019               270, 58L49                 05/17/2019                    86,063-12
                    05/03/2019               262.360-52                 05/20/2019                    46,658-32
                    05/06/2019               259,702-66                 05/21/2019                    45,423-94
                    05/07/2019               199,559-33                 05/22/2019                    50,820-63
                    05/08/2019               197.549-29                 05/23/2019                   114,157-39
                    05/09/2019               183,739-69                 05/24/2019                   209,190-68
                    05/10/2019               107,892-74                 05/28/2019                   192,240-74
                    05/13/2019                63,028-29                 05/29/2019                    97,718-99
                    05/14/2019               127,510-83                 05/30/2019                    96,020-86
                    05/15/2019                92,265-56                 05/31/2019                    85,002-90




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       Attachment B
Hillsboro Saving Statement




 Case 19-10359   Doc# 177-3   Filed 07/31/19   Page 33 of 44
      CAH AQUISITION COMPANY #5 LLC                                     PAGE      1
      THROUGH IT'S RECEIVER COHESIVE
      HEALTHCARE MGMT & CONSULT                                  427195          15
      101 INDUSTRIAL ROAD
      HILLSBORO, KS 67063
                                                               SAVINGS STATEMENT
                                                          A STATEMENT OF YOUR ACCOUNT
                                                           01-MAY-19 THRU 31-MAY-19

LAST STATEMENT   NO.DEPOSITS   AMOUNT       NO.WITHDRAWALS   AMOUNT         STATEMENT BAL
     17,811.65       23     25,723.64              2     31,040.00             12,495.29
                                  WITHDRAWALS       DEPOSITS       DATE            BALANCE
Deposit                                             1,511.21      5-01-19        19,322.86
Deposit                                             2,039.00      5-02-19        21,361.86
Deposit                                               935.45      5-03-19        22,297.31
Deposit                                               752.40      5-06-19        23,049.71
Deposit                                             1,247.12      5-07-19        24,296.83
Deposit                                                55.00      5-08-19        24,351.83
Deposit                                               190.00      5-08-19        24,541.83
Deposit                                             1,450.75      5-10-19        25,992.58
Withdrawal                         21,020.00                      5-10-19         4,972.58
Deposit                                               387.14      5-13-19         5,359.72
Deposit                                             1,093.68      5-14-19         6,453.40
Deposit                                             1,500.00      5-14-19         7,953.40
Deposit                                                69.76      5-15-19         8,023.16
Deposit                                                70.00      5-16-19         8,093.16
Deposit                                               825.00      5-17-19         8,918.16
Deposit                                               247.90      5-20-19         9,166.06
Deposit                                             1,682.18      5-21-19        10,848.24
Deposit                                             1,182.55      5-22-19        12,030.79
Deposit                                               214.19      5-23-19        12,244.98
Deposit                                             1,816.36      5-24-19        14,061.34
Withdrawal                         10,020.00                      5-24-19         4,041.34
Deposit                                                85.00      5-28-19         4,126.34
Deposit                                             7,441.34      5-29-19        11,567.68
Deposit                                               334.10      5-30-19        11,901.78
Deposit                                               592.62      5-31-19        12,494.40
Interest paid                                           0.89      5-31-19        12,495.29

DAYS IN STATEMENT PERIOD               31   AVERAGE BALANCE STMT PERIOD           12117.87
                                               ANNUAL PERCENTAGE YIELD CALCULATION
                                            DAYS IN INTEREST PERIOD              31
                                            AVERAGE BALANCE INT PERIOD     12117.87
                                            AMOUNT OF INTEREST EARNED          0.89
                                            ANNUAL PERCENTAGE YIELD EARNED    0.09%
                                            YEAR TO DATE INTEREST PAID         3.34




                  Case 19-10359   Doc# 177-3    Filed 07/31/19   Page 34 of 44
      CAH AQUISITION COMPANY #5 LLC                                    PAGE      2
      THROUGH IT'S RECEIVER COHESIVE
      HEALTHCARE MGMT & CONSULT                                 427195          15
      101 INDUSTRIAL ROAD
      HILLSBORO, KS 67063
                                                              SAVINGS STATEMENT
                                                         A STATEMENT OF YOUR ACCOUNT
                                                          01-MAY-19 THRU 31-MAY-19

LAST STATEMENT   NO.DEPOSITS   AMOUNT     NO.WITHDRAWALS   AMOUNT         STATEMENT BAL
     17,811.65       23     25,723.64            2     31,040.00             12,495.29
                    TRY HSB ONLINE BANKING TODAY!      >www.hsbks.com<




                  Case 19-10359   Doc# 177-3   Filed 07/31/19   Page 35 of 44
      Attachment C
Hillsboro Payroll Account




Case 19-10359   Doc# 177-3   Filed 07/31/19   Page 36 of 44
rJ BankofHays                               l\\U..J~ Hanston
                                             ~State Bank
                                                                                            l1~ Bank
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                                                                                                                                       of Jetmore
              1000 W 27th St                          102 N Logan St                        217 S Main St                   601 Main St
              Hays, KS 67601                          Hanston, KS 67849                     Lewis, KS 67552                 Jetmore, KS 67854
              Ph. (785) 621-2265                      Ph. (620) 623-4811                    Ph. (620) 324-5794              Ph. (620) 357-8324
              Fax (785) 621-2471                      Fax (620) 623-2727                    Fax (620) 324-5797              Fax (620) 357-6398
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                      COHESIVE HEALTHCARE                                                                            Page        1
                      MANAGEMENT & CONSULTING LLC
                      101 INDUSTRIAL RD
                      HILLSBORO KS 67063-9602

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                   BASIC BUSINESS CHECKING                                                        Account No            862061


                   04-30-19    statement Balance                      18,930-40
                          4    Deposits/credits                      220,477-72
                        128    checks/Withdrawals                    229,703-21
                   05-31-19    statement Balance                       9,704-91



                   Deposits
                    Date            Description                                                                         Amount
                    --------
                    05/09/19
                                    ------------------------------
                                    Loan Proceeds for Payroll
                                                                                                             ---------------
                                                                                                                  35,000-00
                    05/10/19        INET XFER 05-09           FROM XX>OOOCKX1901                                    97, 78L01
                    05/24/19        INET XFER 05-24           FROM XX>OOOCKX1901                                    87,690-11
                    05/31/19        EARNINGS CREDIT                                                                       6_60

                   withdrawals
                    Date            Description                                                                         Amount
                    --------
                    05/10/19
                                    ------------------------------
                                    Reverse Loan Advance
                                                                                                             ---------------
                                                                                                                  35,000-00
                    05/31/19        DEBITS                                                                              15-24

                   checks
                    check No                     Amount       Date               check No                 Amount     Date
                    ----------
                          1146
                               --------------
                                      105-28
                                                              --------
                                                              05/16/19
                                                                                 ----------
                                                                                       1248
                                                                                            --------------
                                                                                                 2,279-85
                                                                                                                     --------
                                                                                                                     05/13/19
                             1185              297-15         05/02/19*                1249              680-77      05/13/19
                             1187            1,635-52         05/07/19*                1250            1,368-97      05/14/19
                             1189            1,661-67         05/02/19*                1251            2,115-20      05/17/19
                             1201              194-56         05/01/19*                1252            2,406-74      05/13/19
                             1205            2,646-47         05/07/19*                1253            1,540-20      05/13/19
                             1206              135-06         05/01/19                 1254            2,140-76      05/13/19
                             1207              285-68         05/01/19                 1255              559-28      05/15/19
                             1208              12L89          05/16/19                 1256            3,041-17      05/14/19
                             1209            2,099-83         05/06/19                 1257            1,776-27      05/13/19
                             1210              305-29         05/01/19                 1258            2,598-02      05/10/19
                             1240            4,971-94         05/09/19*                1259            1,005-37      05/13/19
                             1244            3,487-46         05/01/19*                1260              710-53      05/13/19
                             1245            2,913-06         05/10/19                 1261              435-11      05/21/19
                             1246              275-44         05/22/19                 1262               85-48      05/14/19
                             1247            2,897-62         05/16/19                 1263              514-15      05/13/19


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rJ BankofHays                            l\\U..J~ Hanston
                                         ~State Bank
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                                                                                                                      of Jetmore
              1 000 W 27th St                  102 N Logan St                  217 S Main St                    601 Main St
              Hays, KS 67601                   Hanston, KS 67849               Lewis, KS 67552                  Jetmore, KS 67854
              Ph. (785) 621-2265               Ph. (620) 623-4811              Ph. (620) 324-5794               Ph. (620) 357-8324
              Fax (785) 621-2471               Fax (620) 623-2727              Fax (620) 324-5797               Fax (620) 357-6398
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                      COHESIVE HEALTHCARE                                                                Page       2


                                                                                         Account            862061




                   checks
                    check No                Amount Date             check No                 Amount Date
                    ----------
                          1264
                               --------------
                                      167.98
                                                   --------
                                                     05/13/19
                                                                    ----------
                                                                          1313
                                                                               --------------
                                                                                    1,296.56
                                                                                                    --------
                                                                                                        05/29/19
                            1265            858.67   05/13/19             1314               657.10     05/31/19
                            1266         3,296.47    05/14/19             1315            2,471.29      05/28/19
                            1267            135.06   05/15/19             1316            1, 771.96     05/28/19
                            1269            127.45   05/16/19*            1317            2,379.37      05/24/19
                            1270         2,084.46    05/13/19             1318               690.24     05/28/19
                            1271            398.87   05/13/19             1320               414.88     05/24/19*
                            1272         1,069. 57   05/28/19             1321               609.40     05/28/19
                            1273             86.81   05/20/19             1322               150.71     05/28/19
                            1274            240.11   05/17/19             1323               291.49     05/29/19
                            1275            763.89   05/13/19             1324               167.99     05/30/19
                            1276         1,123.34    05/14/19             1325               936.14     05/28/19
                            1277            856.96   05/13/19             1326            2,758.62      05/29/19
                            1278            179.98   05/14/19             1328            1,721.91      05/29/19*
                            1279         1,853.15    05/13/19             1329               315.36     05/28/19
                            1280            704.72   05/13/19             1330               964.48     05/28/19
                            1281         1,509.66    05/13/19             1331               342.16     05/29/19
                            1282         1,373.28    05/13/19             1332               713.74     05/28/19
                            1283         1,429.44    05/13/19             1333            1,106.91      05/28/19
                            1284            984.72   05/13/19             1334               846.51     05/28/19
                            1285         1,203.70    05/15/19             1335               138.49     05/29/19
                            1286         1,183.09    05/13/19             1336            1,853.15      05/28/19
                            1287         1,929.28    05/13/19             1337               563.94     05/28/19
                            1288            896.38   05/13/19             1338            1,509.65      05/28/19
                            1289            599.38   05/15/19             1339            1,299.06      05/28/19
                            1290         1,013.26    05/13/19             1340            1,456.69      05/28/19
                            1291         1,399.92    05/13/19             1341               818.06     05/28/19
                            1292         1,447.28    05/13/19             1342            1,028.30      05/28/19
                            1293            764.08   05/16/19             1343            1,151.06      05/29/19
                            1294            477.14   05/13/19             1344            1,386.76      05/28/19
                            1295         1,834.30    05/13/19             1345            1,929.28      05/29/19
                            1296         1,594.03    05/13/19             1346               955.52     05/28/19
                            1298         1, 691.54   05/10/19*            1347               606.07     05/24/19
                            1299         2,693.16    05/15/19             1348               981.47     05/24/19
                            1300         3,462.30    05/14/19             1349            1,160.78      05/24/19
                            1301         9,428.62    05/13/19             1350            1,696.47      05/28/19
                            1302         3,352.52    05/13/19             1351               371.94     05/30/19
                            1303         9,028.03    05/30/19             1352               455.30     05/28/19
                            1304         3. 926.24   05/17/19             1353            1,885.58      05/28/19
                            1305         2,214.35    05/24/19             1354            1,586.19      05/28/19
                            1306            540.28   05/31/19             1355            1,603.20      05/29/19
                            1307         2,405.63    05/29/19             1357            1,504.89      05/24/19*
                            1308            344.90   05/28/19             1359            4,282.33      05/29/19*
                            1309         1,666.12    05/28/19             1360            6,846.26      05/28/19
                            1310         2,115.21    05/29/19             1361            3, 391.94     05/28/19
                            1311         2,882.07    05/28/19             1362            4,917.18      05/30/19
                            1312         1,847.98    05/29/19             1364               224.42     05/31/19*


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rJ BankofHays                            l\\U..J~ Hanston
                                         ~State Bank
                                                                        l1~ Bank
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                                                                                                                    of Jetmore
              1000 W 27th St                  102 N Logan St             217 S Main St                   601 Main St
              Hays, KS 67601                  Hanston, KS 67849          Lewis, KS 67552                 Jetmore, KS 67854
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              Fax (785) 621-2471              Fax (620) 623-2727         Fax (620) 324-5797              Fax (620) 357-6398
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                      COHESIVE HEALTHCARE                                                         Page        3


                                                                                    Account          862061




                   checks

                    * Indicates Break In sequence

                   Daily Balance summary
                    Date                           Amount            Date                            Amount
                    05/01/2019               14,522.35               05/17/2019                  13' 145.74
                    05/02/2019               12,563.53               05/20/2019                  13,058.93
                    05/06/2019               10,463.70               05/21/2019                  12,623.82
                    05/07/2019                6, 181.71              05/22/2019                  12,348.38
                    05/09/2019               36,209.77               05/24/2019                  90,776.68
                    05/10/2019               91,788.16               05/28/2019                  47,504.41
                    05/13/2019               41,191.90               05/29/2019                  25,620.49
                    05/14/2019               28,634.19               05/30/2019                  11,135.35
                    05/15/2019               23,443.61               05/31/2019                   9,704.91
                    05/16/2019               19,427.29




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        Attachment D
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